
Maurice JENSON, Defendant Below, Appellant,
v.
STATE OF DELAWARE, Plaintiff Below, Appellee.
No. 96, 2008.
Supreme Court of Delaware.
April 21, 2008.

ORDER
MYRON T. STEELE, Chief Justice.
This 21st day of April 2008, it appears to the Court that, on March 19, 2008, the Chief Deputy Clerk issued a notice to show cause why this appeal should not be dismissed pursuant to Supreme Court Rule 29(b) for the appellant's failure to diligently prosecute his appeal by not filing the required fee or filing a notarized motion to proceed in forma pauperis. The appellant has failed to respond to the notice to show cause within the required ten-day period; therefore, dismissal of this action is deemed to be unopposed.
NOW, THEREFORE, IT IS HEREBY ORDERED, pursuant to Supreme Court Rules 3(b) and 29(b), that the within appeal is DISMISSED.
